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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 EDWARD JACOB LANG, et al.,

                Plaintiffs,

        v.
                                                           No. 24-cv-295 (DLF)
 DANIEL THAU, Sergeant, Metropolitan
 Police Department, et al.,

                 Defendants.


                                             ORDER

       A group of participants in the January 6, 2021 riot at the United States Capitol brought this

pro se suit against officers of the U.S. Capitol Police and Metropolitan Police Department for

alleged injuries sustained during the riot. On April 15, 2024, the Court warned the plaintiffs that

they had not complied with Local Civil Rule 5.1(c)(1), which requires a pro se plaintiff to provide

his address and telephone number in an initial filing. Specifically, the lead plaintiff Edward Jacob

Lang listed a noncurrent address, which failed to reflect that he is presently imprisoned, and

provided an incorrect telephone number. The plaintiffs failed to cure this defect before the

deadline, and the Court accordingly dismissed the case without prejudice on April 30, 2024. A

week later, Stefanie Lambert entered an appearance on behalf of the plaintiffs and filed a Motion

to Reinstate Complaint, Dkt. 11. The Court also received an email from counsel for William

Robert Norwood, an alleged plaintiff in this case. Mr. Norwood’s counsel represents that his

“name and alleged signature is being used” “fraudulently, and without his consent, knowledge, or

authorization.” For the reasons that follow, the Court will deny the plaintiffs’ motion to reinstate.
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       “[T]he Federal Rules do not include a motion to reinstate a case,” but the D.C. Circuit has

construed such motions as arising under Rules 59(e) and 60(b). Morrissey v. Mayorkas, 17 F.4th

1150, 1158 (D.C. Cir. 2021) (Rule 59(e)); see United States v. 8 Gilcrease Lane, Quincy, Fla.

32351, 638 F.3d 297, 301 (D.C. Cir. 2011) (Rule 60(b)). The timing of such a motion dictates

which Rule applies. If the movant seeks relief within twenty-eight days of the challenged ruling,

Rule 59(e) applies. See Slate v. ABC, 12 F. Supp. 3d 30, 37 (D.D.C. 2013); Fed. R. Civ. P. 59(e).

Outside that window, Rule 60(b) applies. See Slate, 12 F. Supp. 3d at 37. Here, both parties

assume that Rule 60(b) is the relevant standard, but the plaintiffs’ motion was filed on May 6,

2024, six days after the Court’s April 30, 2024 order dismissing this action. As such, Rule 59(e)

appears to apply. But whichever standard governs, the plaintiffs’ motion fails.

       To start, the plaintiffs cannot satisfy Rule 59(e). “A Rule 59(e) motion is discretionary and

need not be granted unless the district court finds that there is an intervening change of controlling

law, the availability of new evidence, or the need to correct a clear error or prevent manifest

injustice.” Ciralsky v. CIA, 355 F.3d 661, 671 (D.C. Cir. 2004) (cleaned up). The plaintiffs raise

no intervening change in law nor new evidence not previously available. Their motion thus

appears to hinge on the need to correct “a clear error or prevent manifest injustice.” Id. To

constitute “clear error,” a final judgment “must be dead wrong,” Nanko Shipping, USA v. Alcoa,

Inc., 118 F. Supp. 3d 372, 375 (D.D.C. 2015) (cleaned up), and “manifest injustice” is “more than

just a clear and certain prejudice to the moving party, but also a result that is fundamentally unfair

in light of governing law,” Slate, 12 F. Supp. 3d at 35–36.

       The plaintiffs cannot pass this bar. Nowhere in their motion do they suggest the Court

improperly applied the letter of the Local Civil Rules, thereby forfeiting any “clear error”

argument. Instead, they emphasize that “Plaintiff Lang was incarcerated, in solitary confinement”




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and was thus “unable to be reached by anyone, much less provide a phone number.” Pls.’ Mot. to

Reinstate Compl. ¶ 13. The “[l]ack of a phone number . . . was totally irrelevant” because “there

[was] no guarantee that any calls to that number would have gotten through, much less reached”

Lang in prison. Id. ¶ 11. This argument, which sounds in “manifest injustice,” fails to persuade.

Far from “fundamentally unfair,” the Court’s ruling is a direct result of Lang’s failure to comply

with the Local Civil Rules and this Court’s orders. To start, even assuming the Court waives the

telephone-number requirement, Lang’s provided “address” is a post-office box, not his place of

imprisonment. See Second Am. Compl. at 44, Dkt. 5. The plaintiffs assert that “a mailing address

will be sufficient to allow a party to receive notice,” Mot. to Reinstate Compl. ¶ 12, but a “Post

Office Box address does not constitute a full and correct residence address for purposes of the

Local Rules,” Betz v. First Credit Servs., Inc., 139 F. Supp. 3d 451, 454 (D.D.C. 2015). The

plaintiffs provide no reason why the residence-address requirement should be set aside, and the

Court would be remiss not to mention that pro se prisoners routinely comply with it. See, e.g.,

Groenendal v. EOUSA, No. 20-cv-1030, 2024 WL 1299333 (D.D.C. Mar. 27, 2024). Indeed,

Lang’s failure to indicate that he initially proceeded as a pro se prisoner had the effect of

misleading the Court about his incarcerated status—preventing a proper application of the

screening procedures provided in 28 U.S.C. § 1915.

       Moreover, Lang’s incarceration does not, standing alone, provide an equitable basis for

relief from the Local Civil Rules. See In re Akers, No. 19-cv-3190, 2022 WL 17851468, at *1

(D.D.C. Mar. 9, 2022) (“[N]either simple incarceration nor lack of legal counsel . . . , by

themselves, provide the requisite good cause for relief from judgment.” (cleaned up)). Lang has

been detained since January 16, 2021, and he was apparently moved to solitary confinement in

October 2023—approximately two months before this action was filed. See Defs.’ Opp’n at 6,




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Dkt. 15. Despite being in solitary confinement, he nevertheless brought this action but failed to

keep the Court apprised of his status. Lang, who “has not presented known facts helpful to [his]

cause when [he] had the chance,” cannot avail himself of a motion for reconsideration “after an

adverse judgment has been handed down.” Good Luck Nursing Home, Inc. v. Harris, 636 F.2d

572, 577 (D.C. Cir. 1980) (cleaned up). Further, the Court is deeply concerned by the unrebutted

allegation that a motion to join was filed in Norwood’s name without his consent and with a

potentially forged signature. The plaintiffs offer no explanation as to what occurred, see Joint

Status Report at 2, Dkt. 14, and the Court will not reinstate an action under such dubious

circumstances. The more prudent course is for Lang and any other consenting individuals to refile

this action in compliance with the Local Rules. The Court thus concludes that the plaintiffs have

failed to satisfy Rule 59(e)’s requirements for reinstatement of the Complaint.

       For similar reasons, the plaintiffs cannot overcome the stricter Rule 60(b) standard. Under

Rule 60(b), “the court may relieve a party or its legal representative from a final judgment, order,

or proceeding” for any of six enumerated reasons: (1) “mistake, inadvertence, surprise, or

excusable neglect”; (2) “newly discovered evidence that, with reasonable diligence, could not have

been    discovered    in   time    to   move     for    a   new     trial   under   Rule    59(b)”;

(3) “fraud . . . misrepresentation, or misconduct by an opposing party”; (4) “the judgment is void”;

(5) “the judgment has been satisfied, released, or discharged; it is based on an earlier judgment

that has been reversed or vacated; or applying it prospectively is no longer equitable”; or (6) “any

other reasons that justifies relief.” Fed. R. Civ. P. 60(b). Although they invoke Rule 60(b)(6) for

alleged “extraordinary circumstances,” the plaintiffs’ motion largely gestures toward Rule 60(b)(1)

for “mistake, inadvertence, surprise, or excusable neglect.” Fed. R. Civ. P. 60(b)(1). “[E]xcusable

neglect is understood to encompass situations in which the failure to comply with a filing deadline




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is attributable to negligence.” Pioneer Inv. Servs. Co. v. Brunswick Assocs. Ltd. P’ship, 507 U.S.

380, 394 (1993) (cleaned up). It is “not a vehicle for raising new legal theories,” and “a party’s

disagreement with a district court’s legal reasoning or analysis is rarely, if ever, a basis for relief.”

Munoz v. Bd. of Trs. of Univ. of D.C., 730 F. Supp. 2d 62, 66–67 (D.D.C. 2010). Neither Rule

60(b)(1) nor 60(b)(6) forms a basis for relief.

        As the Court informed the plaintiffs, see Min. Order of Apr. 15, 2024, pro se plaintiffs are

not exempt from the Federal Rules of Civil Procedure nor the Local Civil Rules, see Hedrick v.

FBI, 216 F. Supp. 3d 84, 93 (D.D.C. 2016). The plaintiffs offer no explanation for their failure to

comply.     As explained supra, Lang’s incarceration and solitary confinement—conditions

preceding the filing of the Complaint and subsequent filings—are not adequate bases for relief.

Also, the plaintiffs besides Lang offer zero explanation as to why they could not have complied

with the relevant rules. See Halmon v. Jones Lang Wootton USA, 355 F. Supp. 2d 239, 244 (D.D.C.

2005) (“Parties have an obligation to monitor the court’s docket and keep apprised of relevant

deadlines.”). Ultimately, Lang made the choice to pursue this action during his imprisonment, and

he did so without a proper accounting of the Local Civil Rules and the fulsome consent of his

alleged co-plaintiffs. Rule 60(b)(1) and (6) cannot “rescue” him from these choices “that later

turn[ed] out to be improvident.” Nursing Home, Inc., 636 F. 2d at 577.

        Accordingly, it is

        ORDERED that the plaintiffs’ Motion to Reinstate Complaint, Dkt. 11, is DENIED.




                                                                ________________________
                                                                DABNEY L. FRIEDRICH
June 19, 2024                                                   United States District Judge




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